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 8
                        UNITED STATES DISTRICT COURT
 9
                FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,           )          Case No. 22-CR-00101-1
                                       )
12                       Plaintiff,    )          Defendant’s Sentencing
                                       )          Position; Memorandum of
13              v.                     )          Points and Authorities in
                                       )          Support Thereof
14   TING HONG YEUNG,                  )
                                       )          Date: August 29, 2022
15                       Defendant.    )          Time: 11:00 a.m.
                                       )          Place: Courtroom of the Hon.
16   _________________________________ )                 Stephen V. Wilson
17
          Defendant Ting Hong Yeung submits his sentencing position.
18

19 Dated: August 15, 2022                      Respectfully submitted,
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                                               /s/ Victor Sherman_________
21                                             VICTOR SHERMAN
                                               Attorney for Defendant
22                                             TING HONG YEUNG
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 1               MEMORANDUM OF POINTS AND AUTHORITIES
 2 A.     Background
 3        Ting Hong Yeung is a 40-year-old man, born February 1, 1982 in Hong Kong,
 4 China. His father, Pui Kuen Yeung, age 66, was a police officer in Hong Kong and

 5 his mother, Yuk Kum Yeung, age 65, owned and worked in a cafeteria. Yeung has

 6 two brothers, Tak Cheong Yeung, age 42, who is currently unemployed, and Chi Kit

 7 Yeung, age 36, who works in a hair salon. Because of their parents’ work schedules,

 8 Yeung and his brothers were cared for by their grandmother when they were very

 9 young. By the time Yeung was seven years old, however, his grandmother passed

10 away and the children were left on their own. It fell to Yeung to take care of his

11 youngest brother. Remembering those times, Chi Kit writes:

12        Our family had always lived together. Ting Hong is 4 years older than me
13        and we went to the same elementary and high school in Hong Kong
14        together; he is the one to always protect me no matter what when we
15        grow up. I remember he learnt how to cook for me when he was only in
16        5th grade because our parents were so busy for work during that time,
17        and my oldest brother was studying at New Zealand, so Ting Hong needs
18        to take care of me after school. Ting Hong is always my idol in my heart.
19 Exhibit B.

20        Yeung, who moved with his parents and siblings to the United States in 2000,
21 when he was 18 years old, reports no problems growing up in what he reports was a

22 loving home. Although there were financial struggles in Hong Kong, the family

23 found it easier to make a living in the United States.

24        After moving to the United States, Yeung found adapting to the United States
25 a bit challenging, especially since he did not speak English. Instead of continuing

26 his education, he found work in the restaurant industry within a few days. A few

27 years later, he moved on to selling furniture. His brothers, however, completed their

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 1 educations with his older brother attending college and his younger brother finishing

 2 high school before studying cosmetology.

 3         In 2013, Yeung entered into his first and only marriage to Yu Lan Li.
 4 Unfortunately, he and Li later divorced. They did not have any children.

 5 B.      Offense Conduct
 6         Beginning in about 2010, Yeung began selling products through various
 7 Amazon seller accounts. When these accounts were shut down for violations of

 8 Amazon’s policies, Yeung opened the accounts at issue in this case, which failed to

 9 ship the products that Yeung listed for sale.

10 In a letter to the Court, Yeung writes:

11         I have realized that I was so wrong. Scamming Amazon is a serious
12         crime. I admit that I was so wrong and accept my guilty. I also accept full
13         responsibility. I will promise to the court that I will never do this again. I
14         feel very ashamed and remorseful for my actions. I can’t make any kind
15         of excuse for what I did. I am also very sorry for what I transpired. I
16         meant no disrespect to you or the court of California.
17 Exhibit D.

18         Following his first appearance in April 2022, Yeung pleaded guilty on June 6,
19 2022. He has clearly accepted responsibility for having committed wire fraud and

20 has agreed to pay at least $1,302,954 in restitution.

21 C.      Exceptional Family Circumstances
22         In early 2022, Yeung's mother, Yuk Kum Li Yeung, suffered a serious stroke.
23 The left half of her body semi-paralyzed, and it is difficult for her to get around. As

24 a result, she relies on Yeung to care for her during the day when her husband is at

25 work.

26         While it may be obvious that any loss of caregiving for Yeung’s mother will
27 be the fault of Yeung’s criminal conduct, this is not dispositive. United States v

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 1 Schroeder, 536 F.3d 746, 756 (7th Cir. 2008). “When a defendant presents an

 2 argument for a lower sentence based on extraordinary family circumstances, the

 3 relevant inquiry is the effect of the defendant’s absence on his family members.” Id.

 4 Were this not the case, no defendant would qualify for a below-guidelines sentence

 5 based on extraordinary family circumstances. United States v. Johnson, 964 F.2d

 6 124, 129 (2d Cir. 1992). Where a defendant has shown himself to be critical to the

 7 care of a family member, the Court is “required to consider [the defendant’s] family

 8 circumstances argument and provide an adequate analysis of how much weight, if

 9 any, it should command.” Schroeder, 536 F.3d at 756.

10        As Yuk’s doctor, Qiu Ju Su, explains, Yuk has diagnoses that include stage-III
11 chronic kidney disease, hypertension, hyperlipidemia, hypothyroidism, COPD,

12 overactive bladder, obesity, osteopenia, hyperuricemia, cardiomegaly,

13 arteriosclerotic aorta, gastritis, dizziness and residual effects from knee and eye

14 surgeries. Exhibit A.

15       Yeung checks his mother’s blood pressure twice a day, morning and afternoon,
16 and measures her blood glucose level four times a day. He prepares three meals a

17 day for her, takes her to the park and grocery shopping, and also is ready to help her

18 with her day-to-day needs.

19        Currently, Yeung takes his mother to monthly doctors’ appointments, weekly
20 acupuncture appointments and massage therapy that she receives twice a week. He

21 also is responsible for making sure she takes a large number of medications every

22 four to six hours. Yeung is only able to leave the house to work as a busboy after his

23 father has returned home. Accordingly, Yeung’s absence from the home will also

24 impose a hardship on Yeung’s elderly father who must also make arrangements for

25 his wife’s daily care.

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 1 D.     Character and Letters of Support
 2        Many of the letters submitted on Yeung’s behalf speak of his selflessness,
 3 generosity and concern for others, qualities that are obscured by the nature of the

 4 charges in this case. Many people speak of his love for animals and children.

 5 Although Yeung was briefly married, he has not children. Nonetheless, his friend of

 6 seven years, Hongmei Ai, writes that cares about children a lot. Describing Yeung

 7 as an adoptive father to her children, she writes:

 8        [Yeung] is very kind to his brothers' children. He treats my two children
 9        like his own sons. He never forgets to bring greetings and gifts to them
10        every new year's festival; In addition, as soon as he had time, Yeung took
11        gifts to the orphanage to comfort the children there. He was very kind to
12        all the children around him.
13 Exhibit B.

14        Over the years, Yeung has offered financial support to children in need
15 through World Vision, an organization that offers mentors a way to sponsor children

16 in impoverished communities. Exhibit C. Yeung relates that he has sponsored six

17 children in Cambodia, Kosovo and Jerusalem since 2004. The cost for each child he

18 sponsors is $450 per year. Yeung states that he intends to continue these

19 sponsorships into the future.

20        Yeung has also donated hundreds of hours of his time to Red Apple Garden,
21 an after-school child-care and enrichment program in Alhambra. Yeung has

22 contributed cleaning services, along with organizing learning supplies and helping

23 with marketing. On behalf of Red Apple Garden, Kimi Yan has written to express

24 her appreciation for Yeung’s many hours of hard work on behalf of the children that

25 the program serves. Exhibit C.

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 1        Many people write about the time and energy Yeung lavishes on his younger
 2 brother, Chi Kit Yeung’s, three sons. Just as Yeung cares for his elderly parents, he

 3 also spends time inside and outside the home with his nephews. Chi Kit writes:

 4        Uncle Ting Hong always takes good care of my 3 children and my
 5        parents. He usually spends a lot of time at home taking care of my
 6        parents and our kids when we are away from work, he will also help us to
 7        pick them up after school. He also cooks for our family too. Ting Hong is
 8        a hard-working, friendly, positive, and responsible person. The
 9        atmosphere in our big family is very harmonious and happy. Ting Hong
10        brings a lot of laughers and joy to our family, we are very grateful to
11        have him in our lives.
12 Exhibit B.

13        Yeung’s entire family lives in the same Hacienda Heights home. In addition
14 to Yeung and his parents, his two brothers also live in the house. His older brother,

15 Tak Cheong Yeung, is trained as a truck driver, but is currently between jobs. The

16 household also consists of Yeung’s younger brother, Chi Kit Yeung, Chi Kit’s

17 partner, Juan Liu, and their three boys. By all accounts, Yeung dotes on his nephews.

18 Their mother, Juan Li reports:

19        Ting Hong Yeung usually takes my children, his nephews, to the park on
20        weekends to play basketball, teaching them swimming, and bring them to
21        camping. He always buys gifts for my kids on their birthday and
22        Christmas, so the children like [U]ncle Hong very much. Also, he loves
23        animals and I knew that he has sponsored a child from long time ago.
24 Exhibit B.

25        Even from an early age, Yeung showed an interest in caring for children
26 beginning with the friends of his brother who was still in high school when the

27 family arrived in the United States. Deson Phu, for example, recalls:

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 1        I still remember back in the days Yeung always take his younger brother
 2        to school, and sometimes he also drops me home after school too,
 3        although that's even a opposite direction from their home. Back in days
 4        he always willing to take us to the park, the lake for fishing, even to the
 5        library.
 6 Exhibit B.

 7        Another of his brother’s friends, Yao Wen Li., credits Yeung with steering
 8 him away from making serious mistakes in his life. Stating that Yeung treated him

 9 like a brother, Yao Wen relates that Yeung would pick him up along with Yeung’s

10 brother after school and would cook for both of them. In that time, he fells that

11 Yeung kept him on the right path:

12        During my teenage years, I met friends who were not considered as good
13        kids and had bad influences on me. I almost went down the wrong path
14        and could have made huge mistakes if it wasn't for Ting Hong, he pulled
15        me back out and taught me how to live and grow up the right way. I felt
16        so lucky that Ting Hong was there and guided me to the right direction,
17        otherwise I cannot even imagine where I will be right now. Until this day,
18        Ting Hong and I still talk about the past and make jokes on it.
19 Exhibit B.

20        As many people report, Yeung is a dog lover. He is very caring for his own
21 two dogs, and others feel comfortable counting on him to take care of their dogs.

22 See, passim, Exhibit B.

23        One of the ways that Yeung cares for his father is by taking him fishing nearly
24 every weekend. Yeung will also often take his brother and friends along on these

25 outings. Yeung’s friend of seven years, Cheuk Wang Ng, states that he fished with

26 Yeung and his father regularly until the Covid outbreak forced him to shift his

27 activities. He recalls:

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 1        When we go fishing, Ting Hong would always take care of me and taught
 2        me a lot of little tricks to catch big fish. During my bad days, he would
 3        give me some of his fish so I don't go home with an empty bucket.
 4 Exhibit B. Many others also speak of how generous Yeung has been with the fish he

 5 catches, always making sure to provide freshly caught fish to his friends and

 6 neighbors. See, passim, Exhibit B.

 7        Another friend, Joseph A. Herman, relates that he and Yeung have both spent
 8 time in one another’s homes. Mr. Herman states:

 9        [Yeung] has been very generous to both me and my wife in both his time
10        and his resources and has always presented himself in both a social and
11        caring manner. I have felt very comfortable when he has taken both me
12        and my wife on his family's various camping trips and have had many a
13        campfire discussion with Ting. His friendless and outgoing demeanor
14        comes very natural to him and he has always been someone that I know
15        thinks of others well-being.
16 Exhibit B.

17        Almost everyone who has reflected on what they know about Yeung has
18 commented on his selflessness, kindness, generosity and sense of morality.

19 Although they feel it was out of character, Yeung’s family very much believes that it

20 was out of Yeung’s sense of duty and desire to provide for them that he became

21 involved in the conduct at issue in this case. Because of Yeung’s desire to be a

22 caretaker to his entire family, they all feel a bit of responsibility for the decisions he

23 made. As his brother, Chi Kit, explains, “When Ting Hong informed us of this

24 mistake, our family was very shocked and we all feel very guilty as we believe he

25 made this mistake because he was trying to help our family. We know that Ting

26 Hong regrets it very much now and he wants to make up for this mistake.” Exhibit B.

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 1 E.     Prospects for the Future
 2        As the Probation Officer notes, Yeung has no criminal history and no
 3 incidents of violence in his past. He has strong ties to his family and was quick to

 4 admit his guilt to authorities. Moreover, because Amazon is aware of Yeung’s

 5 activities and has likely flagged him to other online resellers, it is unlikely that he

 6 will be able to engage in a similar criminal scheme.

 7        Although Yeung dropped out of school in Hong Kong when he was young and
 8 had the option to work in lieu of obtaining an education, he now regrets that youthful

 9 decision. Aware of his deficits, he now hopes to improve his English skills and learn

10 a profession, such as working in the field of computer and data sciences.

11 Advisory Guideline Calculation and Sentencing Recommendation

12        The Probation Officer has calculated that the base offense level for Yeung’s
13 offense under USSG § 2B1.1 is seven. With a loss amount between $550,000 and

14 $1.5 million, the specific offender characteristics add 14 levels, USSG § 2B1.1(b)(1),

15 bringing Yeung’s offense level to 21. With a three-level reduction for acceptance of

16 responsibility, Yeung’s total offense level is 18. The defendant concurs with this

17 advisory guideline calculation.

18        The sentencing range for an offense level of 18 and a criminal history of I is
19 27 to 33 months. Taking into the care needs of his mother, defendant requests that

20 the Court sentence him to an appropriate sentence of 27 months or lower.

21                                      CONCLUSION
22        Defendant Ting Hong Yeung respectfully urges that the Court take the
23 foregoing into account when arriving at an appropriate sentence.

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     Dated: August 15, 2022                         Respectfully submitted,
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26                                                  /s/ Victor Sherman_________
                                                    VICTOR SHERMAN
27                                                  Attorney for Defendant
                                                    TING HONG YEUNG
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